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lN THE uNnED STATES D\STRlcT couRT c=rl£o ev gi n.c.
FOR THE WESTERN DlSTR\CT OF TENNESSEE
WESTERN Dl\/lSlON 05 AUG 2b AN 6= 58
UOW\S fgt GOULD
uNlTED STATES 0F AMERlc/-\, ) CLEPKU§._~';§€;:{E!:CTUHT
) W;UG §l 1'§':¢;§\1§?§4'§
P\amuff, )
)
vs_ ) No_ 04-20291_0
)
CARLOS WlLL\AMS, )
)
Defendant. )

 

ORDER OF CONT|NUANCE

 

|T |S HEREBY ORDERED that the hearing on Defendant‘e |Vlotion to Suppress
currently Set for August 24,2005 at 1:00 p.m. is hereby continued and reset torH/'AA)!,
(Oo(»oe w 14 , 2005 at ;z:oo£.m.

Done at Memphis, Tennessee this ig ""`day of August, 2005.

U§:TED STA§ ES DlSTR|CT JUDGE

 

Thls document entered on the docket sheet \n ce§rnpliance n
w\th Ru\e 55 and/or 32(‘0) FRCrP on g-'£_é ja

 

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This notice confirms a copy of the document docketed as number 48 in
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Honorable Bernice Donald
US DISTRICT COURT

